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                                            UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE



  IN RE:                                                             §                            CASE NO.          20-10010
  BORDEN DAIRY COMPANY                                               §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    HOOD CAD                                  HOPKINS COUNTY                            CITY OF SULPHUR SPRINGS
    NAVARRO COUNTY                            WISE COUNTY                               SULPHUR SPRINGS ISD
    DALLAS COUNTY                             UPSHUR COUNTY                             JACK CAD
    ELLIS COUNTY                              GRAYSON COUNTY                            GREGG COUNTY
    JACK COUNTY                               RUSK COUNTY
 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 6th day of January, 2020, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

    M. BLAKE CLEARY                              US TRUSTEE (DELAWARE)
    YOUNG, CONAWAY, STARGATT &                   844 KING STREET, RM 2207
    TAYLOR                                       LOCK BOX #35
    1000 NORTH KING STREET                       WILMINGTON, DE 19899-0035
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                                                         By: /s/ Elizabeth Weller
                                                              Elizabeth Weller
                                                              SBN: 00785514 TX
